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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                       IN ADMIRALTY

                                    CASE NO 20-cv-21588 CMA
  MARK PITZO,

         Plaintiff,
  v.

  CARNIVAL CORPORATION,

              Defendants.
  _______________________________/


                NOTICE OF APPEARANCE AS COUNSEL FOR DEFENDANT

         The Clerk of the above style court will please enter the appearance of DONNISE DESOUZA

  WEBB, ESQ., as Counsel for Defendant, CARNIVAL CORPORATION, d/b/a CARNIVAL

  CRUISE LINE, INC., in connection with the within cause. Please forward copies of all pleadings,

  proceedings, papers and/or correspondence generated in this cause to the undersigned as counsel, at

  the address as set forth below.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 11, 2020, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the attached Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generate by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.
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                                          Respectfully submitted,

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                                          By:    s/ Donnise DeSouza Webb, Esq.
                                                 Donnise DeSouza Webb, Esq
                                                 FLA. BAR NO: 879398

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